     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1086 Page 1 of 37



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11                         UNITED STATES DISTRICT COURT
12                        SOUTHERN DISTRICT OF CALIFORNIA
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14    MICHAEL C. LEE,                                   Case No.: 18-cv-0159 W(BLM)
15                                     Plaintiff,
                                                        ORDER: (1) GRANTING IN PART
16    v.                                                AND DENYING IN PART
                                                        DEFENDANTS’ SUMMARY-
17    CITY OF SAN DIEGO, et al.,
                                                        JUDGMENT MOTION [DOC. 42]
18                                  Defendants.         AND (2) GRANTING PLAINTIFF’S
                                                        MOTION FOR PARTIAL
19
                                                        SUMMARY JUDGMENT [DOC. 43]
20
21         Pending before the Court are the parties’ cross-motions for summary judgment and
22   partial summary judgment. The Court decides the matter on the papers submitted and
23   without oral argument. See Civ. L.R. 7.1(d.1). For the reasons that follow, the Court
24   GRANTS IN PART and DENIES IN PART Defendants’ summary-judgment motion
25   [Doc. 42] and GRANTS Plaintiff’s motion for partial summary judgment [Doc. 43].
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27   //
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1087 Page 2 of 37



 1   I.    INTRODUCTION
 2         This lawsuit arises from the arrest of Plaintiff Michael Lee. Defendants are the
 3   City of San Diego, and San Diego Police Officers Robert Lawyer, Peter Larson, Steven
 4   Choy and Darrell Cox, who were each involved in varying degrees in the arrest.
 5         Defendants’ motion seeks summary adjudication of all of Lee’s causes of action.
 6   Because disputed issues of fact pervade the circumstances surrounding Lee’s arrest, the
 7   Court finds under Lee’s version of events, a reasonable jury could conclude the officers
 8   used excessive force. This finding is required under Blankenhorn v. City of Orange, 485
 9   F.3d 463 (9th Cir. 2007), which is sufficiently analogous to notify the officers that the
10   force used was not objectively reasonable under the circumstances. Accordingly, the
11   officers are not entitled to qualified immunity for Lee’s Fourth Amendment excessive
12   force claim. Additionally, because a reasonable jury could find the officers used
13   excessive force, Defendants’ motion is also denied as to Lee’s state-law causes of action
14   for negligence and battery, and his request for punitive damages. Disputed issues of fact
15   also preclude summary adjudication of Lee’s false arrest cause of action. However,
16   because the record is devoid of evidence supporting an inference that the officers
17   specifically intended to violate Lee’s Fourth Amendment rights, summary adjudication of
18   the Bane Act cause of action is warranted.
19         Lee’s motion seeks a determination that San Diego Municipal Code (“SDMC”) §
20   82.0203, which led to Officer Lawyer’s decision to detain Lee, is unconstitutionally
21   vague. The City asserts the ordinance prohibits obstruction of the sidewalks. However,
22   as worded, the ordinance does not require an obstruction and makes it a crime for a
23   pedestrian to stop in the middle of an uncrowded sidewalk to answer a cell phone or ask
24   for directions. Because the ordinance fails to provide notice to the public and provides no
25   guidance to officers, the Court finds SDMC § 82.0203 is unconstitutionally vague.
26   //
27   //
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1088 Page 3 of 37



 1   II.      FACTUAL BACKGROUND1
 2            The following factual background primarily relates to the excessive-force claim.
 3   Thus, where the facts are in dispute, the Court must accept Lee’s version of events to the
 4   extent it is supported by evidence. Scott v. Harris, 550 U.S. 372, 378 (2007).
 5            On the evening of Saturday, May 28, 2017, Plaintiff Michael C. Lee was with
 6   several friends at Parq, a club in downtown San Diego’s Gaslamp Quarter. (Lee Decl.
 7   [Doc. 44-1] ¶ 3.2) Lee had driven to the club with several friends, including Randall
 8   Evans, the designated driver. (Id. ¶ 4.)
 9            As the club was about to close at approximately 1:45 a.m., Lee had become
10   separated from his friends and began walking alone back to the car. (Lee Decl. [Doc. 44-
11   1] ¶ 3.) While walking, Lee was talking on his cell phone with Evans, who had already
12   reached the car and was driving to pick up Lee. (Id. ¶ 4.) Lee was trying to explain
13   where he was located and eventually sent Evans a text pinpointing his location. (Id.)
14   Evans told Lee to stay put so he could pick him up. (Id.)
15            At the time, Lee was about 1½ blocks from Parq, stopped on the sidewalk along
16   Fifth Avenue between two restaurant/bars called Sadaf and Casablanca. (Lee Decl. [Doc.
17   44-1] ¶ 3.) The area was crowded with people, some of whom were standing around
18   talking. (See id. ¶ 5; Lawyer BC Video 0:00:00–0:00:50; Larson BC Video 0:01:05.3)
19   This busy time of night is generally referred to as “bar break” because bars and
20   restaurants stop serving alcohol as they kick people out. (Larson Depo. [Doc. 42-6]
21
22
23   1
      Exhibits filed in support of Defendants’ motion (“Defs’ Exhibit”) are attached to Seetal Tejura’s
     declaration (“Tejura Decl.”). (See Tejura Decl. [Doc. 42-2] ¶ 3.) Exhibits filed in opposition to the
24   motion (“Pl’s Opp’n Exhibit”) are attached to Michael R. Marrinan’s declaration (“Marrinan Opp’n
25   Decl.”). (See Marrinan Decl. [Ex. 44-12] ¶ 2.)

26   2
         Michael Lee’s declaration (“Lee Decl.”) is Pl’s Opp’n Exhibit 1 [Doc. 44-1].

27   3
      Officer Lawyer’s body camera video (“Lawyer BC Video”) is Defs’ Exhibit 9 [Doc. 42-5] and Pl’s
     Opp’n Exhibit 11 [44-11]. Officer Larson’s body camera video (“Larson BC Video”) is Defs’ Exhibit
28   11 [Doc. 42-5] and Pl’s Opp’n Exhibit 12 [44-11]. (Id.)
                                                          3
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1089 Page 4 of 37



 1   030:2–23.4) Although cars usually are allowed to park along Fifth Avenue, on Friday and
 2   Saturday nights street signs prohibit parking and instead designate the area as a 3-minute
 3   passenger loading zone. (Larson Depo. [Doc. 44-5] 34:13–35:16.)
 4          While Lee was standing talking on his cell phone to Evans, he noticed a
 5   “commotion or argument” involving two African-American men in front of Sadaf, which
 6   ended quickly. (Lee Decl. [Doc. 44-1] ¶ 5.) Lee was not involved in the commotion.
 7   (Id.¶¶ 5, 6.) However, “[s]hortly after seeing the commotion . . ., a large African
 8   American man wearing a backward baseball cap appeared near [Lee].” (Id. ¶ 7.) The
 9   man, named Alexander Stinnett, “spoke to [another] African-American man . . . who
10   seemed upset, then [Stinnett] began to talk to [Lee].” (Id.) A few seconds later, “a
11   second large man joined” the conversation. (Id.) Unbeknownst to Lee, the men were
12   security guards and told Lee they were “clearing the sidewalk.” (Id. ¶ 8.) Lee told them
13   he was waiting for a ride and refused to leave. (Id.)
14          Officers Larson, Lawyer, Choy and Cox were stationed in the area. (Larson Depo.
15   [Doc. 42-6] 033:14–25). Officers Larson and Lawyer were observing the two security
16   guards telling Lee to leave the area, while Lee was on the phone. (Id. 035:10–19, 037:6–
17   25, 040:14–19, 041:2–7.) As they observed the interaction, Officer Lawyer told Officer
18   Larson, “so right now we can cite him …, we can cite him for being on the sidewalk,” in
19   reference to SDMC § 82.0203. (Lawyer BC Video, 0:00:31-0:00:35; Lawyer Depo. [Doc.
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21
22
     4
       Portions of Officer Larson’s deposition transcript (“Larson Depo.”) are attached as Defs’ Exhibit 16
23   [Doc. 42-6] and Pl’s Opp’n Exhibit 5 [44-5]. However, Defendants’ citations to Larson’s deposition are
     inaccurate. For example, they cite “53:12-13” to support the claim that Lee told Officer Larson, “no,
24   I’m not moving.” (See Defs’ P&A [Doc. 42-1] 2:12–13.) But that portion of the transcript does not
25   support the statement, and instead is part of an attorney’s question. (See Larson Depo. [Doc. 42-6]
     053:12–13.) The problem is that most of the pages attached to Defs’ Exhibit 16 do not have the
26   transcript page number, only a three-digit “MSJ Exhibit” page number. For this reason, page references
     in this order to Def’s Exhibit 16 are to the three-digit exhibit page number. References to Pl’s Opp’n
27   Exhibit 5 are to the transcript page number.
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1090 Page 5 of 37



 1   44-6] 74:3–22.5) Although Lee was refusing to leave, Officer Larson acknowledges that
 2   at no time was there any physical fighting or “verbal argument occurring.” (Larson
 3   Depo. []Doc. 42-6] 038:2–15.)
 4          When the security guards could not convince Lee to leave, they motioned to the
 5   officers. (Lawyer BC Video 0:00:47–0:00:49.) Officer Larson approached Lee, who was
 6   still on his cell phone with Evans, and said “come here and talk to me, come here and talk
 7   to me.” (Larson BC Video 0:00:47–0:00:48; Lee Decl. [Doc. 44-1] ¶ 10.) At about the
 8   same time, an unidentified man in a yellow shirt stepped in and began to move/push Lee
 9   from behind away from the security guards. (Larson BC Video 0:00:48–0:00:58; Lee
10   Decl. [Doc. 44-1] ¶¶ 10, 11.) Although the man claimed to know Lee, Lee denies
11   knowing him. (Larson BC VIdeo 0:00:48–0:00:50; Lee Decl. [Doc. 44-1] ¶ 10.)
12          After moving about 10 feet, Lee stopped near a parking meter and told the man
13   that he “was going to stay right here.” (Larson BC Video 0:01:00–0:01:03; Larson Depo.
14   [Doc. 42-6] 044:12–14.) Officer Lawyer, who was following close behind, told Lee
15   “let’s go dude, off the sidewalk. You gotta move.” (Lawyer BC Video 0:01:13-0:01:16.)
16   Lee took a few more steps, then stopped and asked the officers, “to be real, what am I
17   doing right here?” (Id. 0:01:20-0:01:23.) The officers did not respond and instead Officer
18   Lawyer grabbed Lee’s right wrist, which was holding Lee’s cell phone to his ear. (Id.
19   0:01:23–0:01:25.) As Officer Lawyer pulled Lee’s wrist in a downward motion, the
20   officer said “do me a favor, put your hands behind your back.” (Id.) At the same time,
21   Officer Larson grabbed Lee’s left arm and the two officers moved Lee onto the street.
22   (Lawyer BC Video 0:01:23-0:01:30; Larson BC Video 0:01:20–0:01:41.)
23          Lee claims he was surprised when Officer Lawyer grabbed his “right wrist and
24   yanked it down from where it was located near my right ear . . . .” (Lee Decl. [Doc. 44-1]
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27   5
      Portions of Officer Lawyer’s deposition transcript are attached as Defs’ Exhibit 19 [Doc. 42-9] and
     Pl’s Opp’n Exhibit 6 [Doc. 44-6].
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1091 Page 6 of 37



 1   ¶ 14.) The officers repeatedly ordered Lee to put his hands behind his back, while Lee
 2   repeatedly asked, “what did I do, what did I do?” (Id.) As the officers stepped onto the
 3   street, Officer Choy also grabbed Lee. (Cox BC Video 0:00:27–0:00:33.6) After a few
 4   seconds, Officer Choy grabbed Lee around the head and moved him down toward the
 5   ground. (Id. 0:00:37–0:00:48; Lee Decl. [Doc. 44-1] ¶ 16; Cox Depo. [Doc. 42-8] 84:10–
 6   22; Choy Depo. [Doc. 42-10] 122:11–123:20.7)
 7          As Lee was taken to the ground, he hit his head causing a large bump. (Lee Decl.
 8   [Doc. 44-1] ¶ 16.) The officers then struggled to move Lee onto his stomach. (Cox BC
 9   Video 0:00:50–00:01:47.) Once Lee was forced onto his stomach, Officer Cox knelt
10   down on Lee’s left arm and pinned his bicep. (Cox Depo. [Doc. 42-8] 97:14–25.) Other
11   officers also appear to be helping pin Lee down. (Cox BC Video 0:01:47–00:01:58.)
12   Officer Cox then grabbed Lee’s left arm, which was pinned under Lee’s body, and pulled
13   it in a lifting motion and “torqued” it behind his back so the officers could handcuff Lee.
14   (Id.; Cox Depo. [Doc. 42-8] 97:14–98:19; Lee Decl. [Doc. 44-1] ¶ 18; McClain BC Video
15   0:03:34–0:03:44.8) Officer Cox testified that “it looked like [Lee’s] left hand was down
16   toward his waistband,” which was “a huge red flag.” (Cox Depo. [Doc. 42-8] 97:15–19.)
17   The officers then handcuffed Lee. (Id. [Doc. 44-8] 101:18–20.)
18          As Officer Cox was pulling and torqueing Lee’s arm behind his back, the officer
19   heard a pop. (Cox Depo. [Doc. 44-8] 98:16–101:8.) Lee contends at that point he
20   immediately felt severe pain in his left arm and shoulder. (Lee Decl. [Doc. 44-1] ¶ 18.)
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23   6
      Officer Cox’s body camera video (“Cox BC Video”) is Defs’ Exhibit 13 [Doc. 42-5] and Pl’s Opp’n
     Exhibit 13 [44-11].
24
25
     7
      Portions of Officer Cox’s deposition transcript are attached as Defs’ Exhibit 18 [Doc. 42-8] and Pl’s
     Opp’n Exhibit 8 [Doc. 44-8]. Portions of Officer Choy’s deposition transcript are attached as Defs’
26   Exhibit 20 [Doc. 42-10] and Pl’s Opp’n Exhibit 7 [Doc. 44-7].)

27   8
      Officer McClain’s Body Camera Video (“McClain BC Video”) is attached as Defs’ Exhibit 7 [Doc.
     42-5].
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1092 Page 7 of 37



 1             Lee was taken to the county jail and booked on charges of being drunk in public
 2   and resisting arrest. (Defs’ P&A [Doc. 42-1] 8:4–5; Pl’s Opp’n [Doc. 44] 4:4–6.) The
 3   charges were eventually dropped. (Lee Decl. [Doc. 44-1] ¶ 19.)
 4             After being released from jail, Lee was taken to the hospital because he was
 5   experiencing severe pain in his upper left arm. (Lee Decl. [Doc. 44-1] ¶ 20.) X-rays
 6   revealed a displaced, comminuted fracture in five places along his left humerus, that
 7   required surgery. (Id.; Dr. David Depo. [Doc. 44-9] 41:3–25.9) The surgery was
 8   performed two days later, and required placement of a long, metal plate on the humerus
 9   bone and insertion of 16 screws. (Lee Decl. [Doc. 44-1] ¶ 21.) At the time, Lee was
10   employed by the San Diego Chargers as a defensive back. (Id. ¶ 22.) Lee states that as a
11   result of the injury, subsequent surgery, and lengthy recovery time, he was released by
12   the Chargers. (Id.)
13             On January 23, 2018, Lee filed this lawsuit against the City and the officers
14   involved in his arrest. The Second Amended Complaint asserts causes of action for:
15   (1) 42 U.S.C. § 1983 Civil Rights Violations; (2) Negligence; (3) False Arrest;
16   (4) Battery; (5) Cal. Civil Code § 52.1 (the “Bane Act”) Civil Rights Violations; (6) 42
17   U.S.C. § 1983 (the “Monell” claim) – Unlawful Policy via Unconstitutional Ordinance;
18   and (7) 22 U.S.C. § 2201 – Declaratory Relief. Defendants now move for summary
19   judgment and Lee moves for partial summary judgment of the Monell claim.
20
21   III.      LEGAL STANDARD
22             Summary judgment is appropriate under Rule 56(c) where the moving party
23   demonstrates the absence of a genuine issue of material fact and entitlement to judgment
24   as a matter of law. See Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322
25   (1986). A fact is material when, under the governing substantive law, it could affect the
26
27
     9
         Portions of Dr. Tal. S. David’s deposition transcript are attached as Pl’s Opp’n Exhibit 9 [Doc. 44-9].
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1093 Page 8 of 37



 1   outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);
 2   Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997). A dispute about a material fact is
 3   genuine if “the evidence is such that a reasonable jury could return a verdict for the
 4   nonmoving party.” Anderson, 477 U.S. at 248.
 5         A party seeking summary judgment always bears the initial burden of establishing
 6   the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. The moving
 7   party can satisfy this burden in two ways: (1) by presenting evidence that negates an
 8   essential element of the nonmoving party’s case; or (2) by demonstrating that the
 9   nonmoving party failed to make a showing sufficient to establish an element essential to
10   that party’s case on which that party will bear the burden of proof at trial. Id. at 322-23.
11   “Disputes over irrelevant or unnecessary facts will not preclude a grant of summary
12   judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630
13   (9th Cir. 1987).
14         “The district court may limit its review to the documents submitted for the purpose
15   of summary judgment and those parts of the record specifically referenced therein.”
16   Carmen v. San Francisco Unified School Dist., 237 F.3d 1026, 1030 (9th Cir. 2001).
17   Therefore, the court is not obligated “to scour the record in search of a genuine issue of
18   triable fact.” Keenan v. Allen, 91 F.3d 1275, 1279 (9th Cir. 1996) (citing Richards v.
19   Combined Ins. Co., 55 F.3d 247, 251 (7th Cir. 1995)).
20         If the moving party meets its initial burden, the nonmoving party cannot defeat
21   summary judgment merely by demonstrating “that there is some metaphysical doubt as to
22   the material facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.
23   574, 586 (1986); Triton Energy Corp. v. Square D Co., 68 F.3d 1216, 1221 (9th Cir.
24   1995) (citing Anderson, 477 U.S. at 252) (“The mere existence of a scintilla of evidence
25   in support of the nonmoving party’s position is not sufficient.”). Rather, the nonmoving
26   party must “go beyond the pleadings and by her own affidavits, or by ‘the depositions,
27   answers to interrogatories, and admissions on file,’ designate ‘specific facts showing that
28   there is a genuine issue for trial.’” Celotex, 477 U.S. at 324 (quoting Fed.R.Civ.P. 56(e)).

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1094 Page 9 of 37



 1         When making this determination, the court must view all inferences drawn from
 2   the underlying facts in the light most favorable to the nonmoving party. See Matsushita,
 3   475 U.S. at 587. “Credibility determinations, the weighing of evidence, and the drawing
 4   of legitimate inferences from the facts are jury functions, not those of a judge, [when] he
 5   [or she] is ruling on a motion for summary judgment.” Anderson, 477 U.S. at 255.
 6
 7   IV.   DEFENDANTS’ SUMMARY JUDGMENT MOTION
 8         Defendants argue the officers are entitled to qualified immunity with respect to
 9   Lee’s excessive force claim. Defendants also contend that because the officers did not
10   use excessive force, and had probable cause to arrest Lee, summary judgment is
11   appropriate as to Lee’s state-law claims.
12
13         A.     Qualified Immunity
14         “The doctrine of qualified immunity protects government officials ‘from liability
15   for civil damages insofar as their conduct does not violate clearly established statutory or
16   constitutional rights of which a reasonable person would have known.’” Pearson v.
17   Callahan, 555 U.S. 223, 231 (2009) (citing Harlow v. Fitzgerald, 457 U.S. 800, 818
18   (1982)). “Qualified immunity balances two important interests—the need to hold public
19   officials accountable when they exercise power irresponsibly and the need to shield
20   officials from harassment, distraction, and liability when they perform their duties
21   reasonably.” Id. A public official is entitled to qualified immunity “unless the official’s
22   conduct violated a clearly established constitutional right. [Citation omitted.]” Id. at 232.
23         In Saucier v. Katz, 533 U.S. 194 (2001), the Supreme Court mandated a two-step
24   approach to evaluating qualified immunity. First, the court must decide if the facts make
25   out a violation of a constitutional right. Id. at 201. If so, the second step is whether the
26   right at issue was “clearly established” at the time of the official’s alleged misconduct.
27   Id. Whether the governing law was clearly established and whether specific facts
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1095 Page 10 of 37



 1    constitute a violation of established law are legal determinations. Mabe v. San
 2    Bernardino Cnty., Dep’t of Pub. Soc. Servs., 237 F.3d 1101, 1106 (9th Cir. 2001).
 3
 4          1.     Was there a violation of a constitutional right?
 5          The first issue is whether, the officers’ use of force against Lee violated his Fourth
 6    Amendment rights. In the context of a summary-judgment motion, “courts are required
 7    to view the facts and draw reasonable inferences ‘in the light most favorable to the party
 8    opposing the motion.’” Scott, 550 U.S. at 378 (quoting United States v. Diebold, Inc.,
 9    369 U.S. 654, 655 (1962)). “In qualified immunity cases, this usually means adopting …
10    the plaintiff’s version of facts.” Id.
11          In evaluating excessive-force claims, “courts ask ‘whether the officers’ actions are
12    ‘objectively reasonable’ in light of the facts and circumstances confronting them.” Glenn
13    v. Washington County, 673 F.3d 864, 871 (9th Cir. 2011). This involves a balancing of
14    “the nature and quality of the intrusion on the individual’s Fourth Amendment interests
15    against the countervailing governmental interests at stake.” Graham v. Connor, 490 U.S.
16    386, 396 (1989). In Graham, 490 U.S. 386 (1989), the Supreme Court explained this
17    requires an examination of the “facts and circumstances of each particular case, including
18    the severity of the crime at issue, whether the suspect poses an immediate threat to the
19    safety of the officers or others, and whether he is actively resisting arrest or attempting to
20    evade arrest by flight.” Id at 396. Because the determination is based on the totality of
21    the circumstances, courts may also consider other factors relevant to the particular case.
22    Mattos v. Agarano, 661 F.3d 433, 441, 451 (9th Cir. 2011); Davis v. City of Las Vegas,
23    478 F.3d 1048, 1054-57 (9th Cir. 2007) (recognizing that courts also examine the
24    availability of alternatives to the amount of force used, and the mental and emotional
25    state of the plaintiff). “Ultimately, ‘the most important’ Graham factor is whether the
26    individual posed an ‘immediate threat to the safety of the officers or others.” Mattos, 661
27    F.3d at 441 (citation omitted).
28

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1096 Page 11 of 37



 1          Although a court views evidence in the light most favorable to the non-moving
 2    party in summary judgment, “[t]he ‘reasonableness’ of a particular use of force must be
 3    judged from the perspective of a reasonable officer on the scene, rather than with the
 4    20/20 vision of hindsight.” Graham, 490 U.S. at 396. “Excessive force claims … are
 5    evaluated for objective reasonableness based upon the information the officers had when
 6    the conduct occurred.” County of Los Angeles, Calif., v. Mendez, – U.S. –, 137 S.Ct.
 7    1539, 1546–47 (2017) (quoting Saucier, 533 U.S. at 207). “The calculus of
 8    reasonableness must embody allowance for the fact that police officers are often forced to
 9    make split-second judgments—in circumstances that are tense, uncertain, and rapidly
10    evolving—about the amount of force that is necessary in a particular situation.” Glenn,
11    673 F.3d at 871 (quoting Graham, 490 U.S. at 397).
12
13          a.     The nature of the intrusion on Lee’s Fourth Amendment rights.
14          Evaluating the nature of the intrusion on an individual’s rights requires an
15    assessment of “the type and amount of force inflicted.” Deorle v. Rutherford, 272 F.3d
16    1272, 1279 (9th Cir. 2001). “Even where some force is justified, the amount actually
17    used may be excessive.” Glenn, 673 F.3d at 871. Where the plaintiff suffers a serious
18    injury that is endured for a significant period of time, the nature of the intrusion is severe.
19    See Santos v. Gates, 287 F.3d 846, 853–54 (9th Cir. 2002) (finding nature of intrusion
20    severe where plaintiff suffered broken back after allegedly being shoved to the ground by
21    officers); Palmer v. Sanderson, 9 F.3d 1433, 1436 (9th Cir. 1993) (officer’s application of
22    handcuffs tight enough to cause pain and discoloration of wrists for several weeks
23    supported excessive force claim); but see Jackson v. City of Bremerton, 268 F.3d 646
24    (9th Cir. 2001) (intrusion minimal where plaintiff suffered broken finger and discomfort
25    when pepper spray on her hair ran into her eye).
26          Here, the amount of force used on Lee caused him to suffer a severe fracture of his
27    left humerus (in five places), requiring the placement of a long, metal plate and insertion
28    of 16 screws. (Lee Decl. [Doc. 44-1] ¶¶ 20, 21; Dr. David Depo. [Doc. 44-9] 41:3–25;

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1097 Page 12 of 37



 1    Pl’s Opp’n Ex. 10 [Doc. 44-10].) Lee also contends the Chargers terminated him because
 2    of the extended rehabilitation time required for the injury and thus the injury has had a
 3    significant impact on Lee. (Id. ¶ 22.) Under the circumstances, the evidence supports an
 4    inference that the intrusion on Lee’s Fourth Amendment rights was severe.
 5
 6          b.     Government’s interest in the use of force.
 7          The three Graham factors used to evaluate the government’s interest are (1) the
 8    nature of the crime, (2) whether plaintiff posed a threat, and (3) whether plaintiff was
 9    attempting to flee or resist arrest. Graham, 490 U.S. at 396. Because excessive force
10    claims are evaluated under the totality of the circumstances, courts also “consider
11    ‘whatever specific factors may be appropriate in a particular case, whether or not listed in
12    Graham.’” See Mattos, 661 F.3d at 441 (quoting Bryan v. MacPherson, 630 F.3d 805,
13    826 (9th Cir. 2010)). In evaluating each factor, disputes must be resolved in Lee’s favor.
14    Scott, 550 U.S. at 378 (“courts are required to view the facts and draw reasonable
15    inferences ‘in the light most favorable to the party opposing the motion’”).
16
17                 (i)   Nature of the crime
18          Defendants do not specifically address the nature of the crime in discussing the
19    excessive-force claim. However, in other sections of their motion, Defendants contend
20    they had grounds for detaining Lee for public intoxication and resisting arrest. (Defs’
21    P&A [Doc. 42-1] 20:20–21:17.) Lee disputes he was detained for public intoxication and
22    argues the crime at issue was the “de minimis offense” of standing on the sidewalk in
23    violation of SDMC § 82.0203. (Opp’n [Doc. 44] 8:21–9:6.)
24          Lee’s contention that he was detained for violating § 82.0203 is supported by the
25    evidence. Body-camera video establishes that before the officers approached Lee,
26    Officer Lawyer told Officer Larson, “so right now we can cite him …, we can cite him
27    for being on the sidewalk.” (Lawyer BC Video, 0:00:31-0:00:35.) Approximately 15
28    seconds later, the two officers approached Lee and warned that Lee “is going to go with

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1098 Page 13 of 37



 1    us” if he does not leave. (Id. 0:00:56–0:00:58.) Approximately 30 seconds later, Officer
 2    Lawyer grabbed Lee’s right wrist and ordered him to “put your hands behind your back.”
 3    (Id. 0:01:23-0:01:25.) And during Officer Lawyer’s deposition, he confirmed his “plan
 4    was to . . . detain [Lee] and . . . move him off the sidewalk” to write him a citation for
 5    “standing on the sidewalk in a business district.” (Lawyer Depo. [Doc. 44-6] 74:3–22.)
 6           These facts support Lee’s contention that he was detained for the minor offense of
 7    violating SDMC § 82.0203. Because the nature of this crime does not suggest “a danger
 8    to [officers] or the public such that there would be a heightened interest in the use of
 9    force to subdue him, the ‘severity of the crime at issue’ weighs against a finding that the
10    government had an interest in the use of significant force.” Young v. County of Los
11    Angeles, 655 F.3d 1156, 1165 (9th Cir. 2011).10
12
13                   (ii)    Threat to officers
14           Defendants’ contention that the amount of force used was reasonable is largely
15    based on their claim that Lee posed a significant threat to “everyone’s safety” and that the
16    officers were forced to “react in a split second given Plaintiff’s sudden physical
17    resistance of them as they attempted to handcuff him . . . . ” (Defs’ P&A [Doc. 42-1]
18    15:18–21.)
19           “[A] simple statement by an officer that he fears for his safety or the safety of
20    others is not enough; there must be objective factors to justify such a concern.” Young,
21    655 F.3d at 1163 (quoting Deorle, 272 F.3d at 1281). Here, viewing the evidence in the
22
23
24    10
        Even if the Court accepted Defendants’ claim that Lee was detained for public intoxication, it is not a
25    serious crime for purposes of evaluating an excessive-force claim. See Santos, 287 F.3d at 854 (finding
      public intoxication does not constitute a serious crime). Regarding the resisting-arrest charge, because
26    the officers’ use of force preceded Lee’s resistance, it would not justify their decision to use force. See
      Young, 655 F.3d at 1164 (evaluating severity of crimes committed before officer’s use of force).
27    Additionally, the type of resistance offered by Lee would not suggest a serious crime weighing in favor
      of significant force. See discussion in section IV.A.1.b(iii), below.
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1099 Page 14 of 37



 1    light most favorable to Lee, a reasonable jury could conclude he did not pose a danger to
 2    the officers or others.
 3          The officers’ body camera videos show that while interacting with the security
 4    guards, Lee never became hostile or aggressive towards them, never took a fighting
 5    stance, never clenched his fists or made threatening gestures, and he never used profanity.
 6    (Larson’s BC Video 0:00:00-0:00:48; Lawyer BC Video 0:00:00-0:00:50.) Instead,
 7    during the entire interaction, Lee stood calmly, with his right hand holding his cell phone
 8    to his ear and his left hand generally in his jean’s pocket. (Id.) Officer Larson confirmed
 9    during his deposition that although Lee refused the security guards’ orders to leave, there
10    was no physical fighting or “verbal argument occurring.” (Larson Depo. [Doc. 42-6]
11    038:2–15.)
12          There is also no dispute that when the officers approached Lee, he complied with
13    their orders to move, until he stopped and asked what he was doing wrong. Officer
14    Larson’s body camera video shows that when he approached Lee and said “come here
15    and talk to me, come here and talk to me” (Larson’s BC Video 1 0:00:47-0:00:48), Lee
16    moved approximately 10 feet away from the security guards (Id. 0:00:49–0:01:00).
17    When Lee stopped moving, Officer Lawyer told him “let’s go dude, off the sidewalk
18    man. You gotta move” (Lawyer BC Video 0:01:13-0:01:16), and Lee again moved a few
19    more short steps before stopping and asking the officers, “to be real, what am I doing
20    right here?” (Lawyer BC Video 0:01:20-0:01:23.)
21          In his deposition, Officer Larson admitted Lee was “technically” doing what the
22    officers asked him to do. (Larson Depo. [Doc. 44-5] 61:21–62:4.) Additionally, the
23    body-camera videos confirm that before the officers grabbed Lee, he was not hostile or
24    aggressive toward the officers, he did not take a fighting stance toward them, he made no
25    threatening gestures, and he never clenched his fists or used profanity. (Larson’s BC
26    Video 0:00:00-0:01:24; Lawyer’s BC Video 0:00:00-0:01:25.) And the audio from the
27    body-camera videos reveals that at no point before the officers grabbed Lee, had he
28    refused the officers’ orders to move. (Id.)

                                                    14
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1100 Page 15 of 37



 1           At worst, after moving approximately 12 to 15 feet from the security guards, Lee
 2    stopped and asked what he was doing wrong. Asking why the officers were ordering him
 3    to “move” and get “off the sidewalk” did not make Lee hostile or render him a danger.
 4    See Houston v. Hill (1987) 482 U.S. 451, 462–63 (1987) (“The freedom of individuals
 5    verbally to oppose or challenge police action without thereby risking arrest is one of the
 6    principal characteristics by which we distinguish a free nation from a police state.”);
 7    People v. Quiroga, 16 Cal.App.4th 961, 966 (1993) (“While the police may resent having
 8    abusive language ‘directed at them, they may not exercise the awesome power at their
 9    disposal to punish individuals for conduct that is not merely lawful, but protected by the
10    First Amendment.’”) (quoting Duran v. City of Douglas, Ariz., 904 F.2d 1372, 1378 (9th
11    Cir. 1990).) This is particularly true in this case, where the officers were ordering Lee to
12    “move” from a designated passenger loading zone while Lee was waiting for a ride.11
13           Defendants respond that Lee never told them he was waiting for a ride. (Defs’
14    Reply [Doc. 47] 2:5–11.) But a reasonable jury could find the officers’ failure to discover
15    that Lee was waiting for a ride was unreasonable given: (1) Lee had already told the
16    security guards he was waiting for a ride (Lee Decl. [Doc. 44-1] ¶ 8); (2) the area was a
17    designated passenger loading zone; (3) Lee asked the officers what he was doing wrong
18    and, thus, attempted to figure out why he was being asked to move; and (4) the officers
19    chose not to respond to Lee’s question and instead detain him.
20           Defendants next argue the amount of force used to pull and twist Lee’s arm was
21    justified because the officers believed he might have a weapon hidden in his waistband.
22    (Defs’ P&A [Doc. 42-1] 7:7–8, 14:27–28.) As it turned out, Lee did not have a weapon
23    and thus the officers were mistaken. In evaluating the immediacy of a suspect’s threat,
24
25
26    11
        Nor were the officers’ orders for Lee to leave the area justified under SDMC § 82.0203. The
      ordinance provides, “it shall be unlawful for any pedestrian to stand on the sidewalk, except as near as
27    practicable to the building or the curb line.” Id. (emphasis added). Thus, under the ordinance, the
      officers should have ordered Lee to move away from the middle of the sidewalk and stand “as near as
28    practicable” to the building line or curb line.
                                                         15
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1101 Page 16 of 37



 1    the issue is not whether the officer made an honest mistake of fact, but rather “whether a
 2    reasonable officer would have or should have accurately perceived that fact.” Nehad v.
 3    Browder, 929 F.3d 1125, 1133 (9th Cir. 2019). Thus, the issue is whether—viewing the
 4    facts in favor of Lee—a reasonable officer would have or should have known that Lee
 5    did not have a weapon hidden in his waistband.
 6          The officers’ body-camera videos confirm that none of the officers ever said
 7    anything suggesting they believed Lee had a weapon. Moreover, there is nothing on the
 8    videos suggesting he had a weapon. For example, the video of Lee talking to the security
 9    guards shows him wearing snug fitted jeans and a shirt, with no bulges consistent with a
10    weapon around his waistband. (Lawyer BC Video 0:00:00–0:00:50; Larson BC Video
11    0:00:00–0:00:48.) Even more revealing is video of the front of Lee’s waistband while he
12    was lying on his side, before Lee was forced onto his stomach. (Cox BC Video 0:00:50–
13    0:00:54.) Lee’s stomach is visible on the video, and there is no weapon in his waistband.
14    (Id.) For these reasons, whether the officers truly and reasonably believed Lee had a
15    weapon is a question for the jury.
16          Finally, Defendants attempt to justify the use of force by asserting they were
17    required to make a split-second decision. The “desire to resolve quickly a potentially
18    dangerous situation is not the type of governmental interest that, standing alone, justifies
19    the use of force that may cause serious injury.” Glenn, 673 F.3d 876–77 (quoting Deorle,
20    272 F.3d at 1281. In Nehad, 929 F.3d 1125, the Ninth Circuit recently explained that the
21    latitude Graham requires for split-second judgments does not apply where the officer
22    creates the sense of urgency:
23          We recognize, as we have often done before, that officers must act “without
            the benefit of 20/20 hindsight,” and must often make “split-second
24
            judgments—in circumstances that are tense, uncertain, and rapidly
25          evolving—about the amount of force that is necessary in a particular
            situation.” Gonzalez v. City of Anaheim, 747 F.3d 789, 794 (9th Cir. 2014)
26
            (quoting Graham, 490 U.S. at 396–97, 109 S.Ct. 1865); - see also --------
                                                                      - ---  Deorle v.
27          Rutherford, 272 F.3d 1272, 1283 (9th Cir. 2001). Sometimes, however,
            officers themselves may “unnecessarily create their own sense of urgency.”
28

                                                   16
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1102 Page 17 of 37



 1           Torres v. City of Madera, 648 F.3d 1119, 1127 (9th Cir. 2011); see also
             Porter v. Osborn, 546 F.3d 1131, 1141 (9th Cir. 2008) (“When an officer
 2
             creates the very emergency he then resorts to deadly force to resolve, he is
 3           not simply responding to a preexisting situation.”). Reasonable triers of fact
             can, taking the totality of the circumstances into account, conclude that an
 4
             officer’s poor judgment or lack of preparedness caused him or her to act
 5           unreasonably, “with undue haste.” Torres, 648 F.3d at 1126.
 6
      Id. at 1135 (footnote and internal brackets excluded).
 7
             Here, a reasonable jury could find the officers unnecessarily created their own
 8
      sense of urgency. As discussed above, a reasonable jury could find Lee did not pose a
 9
      threat and that he had complied with the officers’ orders to move before stopping to ask
10
      what he was doing wrong. While the officers appear to have been frustrated that Lee did
11
      not continue walking away from the area (see Larson Depo. [Doc. 44-5] 61:21–62:4), the
12
      videos establish the officers moved to detain Lee approximately 30 seconds after they
13
      first ordered him to “move” (Lawyer BC Video 0:00:50–0:01:23; Larson BC Video
14
      0:00:48–0:01:19). Because nothing occurred during those 30 seconds suggesting the
15
      officers needed to resolve the situation quickly, a reasonable jury could find the officers
16
      acted impetuously. Under these facts, the “latitude Graham requires for split-second
17
      police judgments in ‘tense, uncertain, or rapidly evolving’ situations was not warranted
18
      here.” Blankenhorn, 485 F.3d at 478 (citing Graham, 490 U.S. at 396–97).12
19
20
                     (iii)   Resisting arrest or attempting to flee.
21
             Relying on the body camera videos, the officers contend Lee was “physically,
22
      actively resisting them all of sudden when they got close to him to try and handcuff him.”
23
24
25
      12
26      The Court recognizes the officers allege other facts suggesting Lee posed more of a danger. Those
      facts cannot be considered if Lee disputes them and his dispute is supported by evidence, or it is unclear
27    whether the officer was aware of the facts when they grabbed Lee. Glenn, 673 F.3d at 873, n. 8 (“We
      cannot consider evidence of which the officers were unaware”).)
28

                                                         17
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1103 Page 18 of 37



 1    (Defs’ P&A [Doc. 42-1] 16:16–19.) Although Lee appears to be resisting at certain
 2    points during his arrest, the extent of his resistance is in dispute.
 3          As an initial matter, despite Defendants’ reliance on the body-camera videos, they
 4    are of limited assistance, particularly in evaluating Lee’s resistance. There is no single
 5    video that shows the entire arrest, nor can the entire arrest be seen by piecing together the
 6    videos from the officers’ body cameras. Additionally, the videos from Officer Lawyer’s
 7    and Officer Larson’s body cameras do not show the arrest because (1) they were standing
 8    too close to Lee and (2) their body cameras fell off shortly after grabbing him. Videos
 9    from the other officers’ body cameras only show snippets of the arrest. Aside from not
10    having a clear video of the entire arrest, the officers concede the type of resistance Lee is
11    accused of—tensing his arms, as opposed to punching, kicking or biting—is difficult to
12    discern on videos. (See Choy Depo. [Doc. 42-10] 123:14–20, acknowledging the videos
13    do not show muscle rigidity, how hard someone “is grabbing, or flinching, or pulling
14    away, what level of resistance there is.”)
15          Defendants’ contention that Lee actively resisted the officers “when they got close
16    to him” is also not supported by the videos. As discussed above, the videos show Lee
17    was not aggressive toward the officers at any time before the officers grabbed his arms.
18    The videos also show that when Officer Lawyer grabbed and pulled Lee’s right wrist in a
19    downward motion, Lee did not try to yank his arm away but appears to try to move his
20    arm/hand back up toward his face. (Larson BC Video 0:01:19–0:01:26; Lawyer BC
21    Video 0:01:22–0:01:28.) It is, therefore, not clear that Lee was “resisting” Officer
22    Lawyer. Similarly, Lee does not appear to be resisting when the officers moved him onto
23    the street. (Cox BC Video 0:00:27–0:00:33.)
24          Once Lee was taken to the ground and laying on his side, he appears to resist being
25    forced onto his stomach. However, it is often difficult to see what is happening while the
26    officers are forcing Lee onto his stomach and before they break his humerus. The
27    officers contend, however, that they can be heard yelling at Lee to stop resisting. (Defs’
28    P&A [Doc. 42-1]. But bystanders can also be heard yelling at the officers that Lee was

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1104 Page 19 of 37



 1    not resisting. (Larson BC Video 0:02:01–0:02:03, 0:02:12–0:02:18, 0:03:40–0:03:48,
 2    0:04:03–0:04:06.) Lee also contends he was not resisting and claims that while on his
 3    stomach, his arms were “underneath my body and one or more officers were on my back
 4    pinning me down. As a result, my arms were trapped under my body, and I could not get
 5    them out and put them behind my back.” (Lee Decl. [Doc. 44-1] ¶ 17.) Officer Cox
 6    testified that before torqueing Lee’s left arm behind his back, Lee’s left hand was “pinned
 7    down” under his body weight while the officer knelt on Lee’s left arm. (Cox’s Depo.
 8    [Doc. 42-8] 97:23–98:15.) Officer Cox’s testimony arguably corroborates Lee’s claim.
 9           In summary, although Lee appears to resist the officers at certain points during his
10    detention/arrest, disputes exist regarding the extent of Lee’s resistance. Under these
11    circumstances, a reasonable jury could find Lee’s limited resistance did not justify the
12    amount of force used.13
13
14                   (iv)   Other factors.
15           Because excessive force claims must be evaluated under the totality of the
16    circumstances, courts “consider ‘whatever specific factors may be appropriate in a
17    particular case, whether or not listed in Graham.’” See Mattos, 661 F.3d at 441 (quoting
18    Bryan, 630 F.3d at 826). Another factor considered in evaluating excessive-force claims
19    is “whether there were less intrusive means of force that might have been used before
20    officers resorted” to the force used. Glenn, 673 F.3d at 876. “Officers ‘need not avail
21    themselves of the least intrusive means of responding to an exigent situation; they need
22    only act with that range of conduct we identify as reasonable.” Id. (quotation omitted).
23    “‘However, police are required to consider what other tactics if any were available,’ and
24
25
26    13
        Under Blankenhorn, it is also possible that Lee’s resistance to being forced onto his stomach was
      “justified.” Id., 485 F.3d at 479–80 (officers’ “lack of forewarning, the swiftness, and the violence with
27    which the[y] threw themselves upon [plaintiff] could reasonably be considered ‘provocative,’ triggering
      [plaintiff’s] limited right to reasonable resistance”). See discussion in section IV.A.2, below. However,
28    given the Court’s excessive force findings, the issue need not be decided.
                                                         19
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1105 Page 20 of 37



 1    if there were ‘clear, reasonable and less intrusive alternatives’ to the force employed, that
 2    ‘militates against finding the use of force reasonable.’” Id. (citation, brackets and some
 3    internal quotation marks omitted).
 4           Here, Lee’s police practices and procedure expert, Jeffrey Noble, opined that under
 5    the circumstances, a “reasonable officer would know that he was required to use verbal
 6    communication and de-escalation techniques prior to resorting to the use of force.”
 7    (Noble Decl. [Doc. 44-3] ¶ 14.) He also opined that the officers failed to follow their
 8    training when they stopped communicating with Lee and began to forcibly detain him.
 9    For support, Noble cites San Diego Police Department Policy No. 4.01, relating to
10    stopping and detaining subjects. The policy provides:
11           The Department understands that direct contact with officers is, to the vast
             majority of the public, a rare and infrequent event. As a consequence, such
12
             contact can often be uncomfortable, awkward, or unnerving for citizens
13           when they do not know why they are being contacted. A way to alleviate
             this is to provide citizens being contacted with the reasons for the
14
             interaction. Officers should communicate the reasons for the necessity of
15           contact with citizens to the extent that this is possible, in light of
             investigatory and safety concerns.
16
17    (Noble Decl. [Doc. 44-3] ¶ 18 (emphasis added).14)
18           As discussed above, the evidence establishes that Lee was waiting for a ride in an
19    area designated as a passenger loading zone when the officers ordered him to “move” and
20    “get off the sidewalk.” The evidence further establishes that after moving approximately
21    12 to 15 feet, Lee stopped and asked what he was doing wrong. Rather than
22    “communicate the reasons” Lee was being asked to move, the officers resorted to force,
23    grabbing Lee’s arms and moving him onto the street. Under these circumstances, a
24    reasonable jury could find that based on Noble’s opinion, there were reasonable and less
25    intrusive alternatives to the force used. See Smith v. City of Hemet, 394 F.3d 689, 703
26
27
      14
        Jeffrey Noble’s declaration is attached as Exhibit 3 [Doc. 44-3] to Marrinan’s Opp’n Decl. [Doc. 44-
28    12].
                                                        20
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1106 Page 21 of 37



 1    (9th Cir. 2005) (finding that a jury could rely upon plaintiff’s expert regarding whether
 2    the officers’ conduct violated applicable police standards and that there were alternative
 3    techniques available for subduing him); -
                                              see also ----------------------
                                                - ---  Larez v. City of Los Angeles, 946 F.2d
 4    630, 635 (9th Cir. 1991) (finding testimony of “an expert on proper police procedures and
 5    policies” was relevant and admissible).
 6          Defendants argue in their reply, however, that the officers decided to use force
 7    “only after Plaintiff was warned and given the opportunity to leave….” (Reply [Doc. 47]
 8    5:12–13.) But the videos establish that Lee moved when the officers approached him and
 9    ordered him to do so. (Lawyer BC Video 0:00:50–0:01:23; Larson BC Video 0:00:48–
10    0:01:19.) Officer Larson acknowledged as much in his deposition. (Larson Depo. [Doc.
11    44-5] 61:21–62:4.) And the videos confirm Lee never told the officers he would move no
12    further; at most, he stopped to ask what he was doing wrong. Additionally, the videos
13    establish that within 30 seconds of approaching Lee and asking him to move, the officers
14    grabbed his arms and forced him onto the street. Because Lee’s “opportunity to leave”
15    lasted less than 30 seconds, a jury could find the officers did not follow SDPD Policy No.
16    4.01, and that there were clear, reasonable and less intrusive alternatives to the force used
17    against Lee.
18
19          2.       Was the law clearly established?
20          In evaluating whether a right is “clearly established,” the “relevant, dispositive
21    inquiry . . . is whether it would be clear to a reasonable officer that his conduct was
22    unlawful in the situation he confronted.” Saucier, 533 U.S. at 202. In determining
23    whether a right is clearly established, courts “may look at unpublished decisions and the
24    law of other circuits, in addition to Ninth Circuit precedent.” Prison Legal News v.
25    Lehman, 397 F.3d 692, 702 (9th Cir. 2005); Sorrels v. McKee, 290 F.3d 965, 970 (9th
26    Cir. 2002) (looking to “decisions of our sister Circuits, district courts, and state courts” in
27    evaluating if law was clearly established).
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1107 Page 22 of 37



 1          “[A] defendant cannot be said to have violated a clearly established right unless the
 2    right’s contours were sufficiently definite that any reasonable official in the defendant’s
 3    shoes would have understood that he was violating it.” Plumhoff v. Rickard, 134 S.Ct.
 4    2012, 2023 (2014). However, “[t]his is not to say that an official action is protected by
 5    qualified immunity unless the very action in question has previously been held unlawful,
 6    but it is to say that in the light of preexisting law the unlawfulness must be apparent.”
 7    Anderson v. Creighton, 483 U.S. 635, 640 (1987).
 8          In support of the argument that the law was clearly established, Lee relies on
 9    Blankenhorn v. City of Orange, 485 F.3d 463. There, Officer Nguyen found plaintiff
10    Blankenhorn, a known gang member, at a shopping mall from which he had previously
11    been evicted and banned. Id. at 467, 468. The officer yelled at him to come over, but
12    Blankenhorn asked why and continued talking with a friend. Officer Nguyen stared at
13    Blankenhorn, who eventually said, “what’s up? You want to talk to me, come over here,
14    talk to me, then.” Id. at 468–69. When Officer Nguyen did not respond, Blankenhorn
15    began to walk away and the officer moved in front of Blankenhorn and grabbed his arm.
16    Blankenhorn yanked his arm away, and Officer Nguyen threatened to spray him with
17    mace. At that point, other officers and a security guard arrived. Blankenhorn admitted
18    he was “‘angry’ and ‘loud,’ that he used profanity and, in frustration, he threw his
19    driver’s license on the ground.” Id. 469. Video also showed him “gesture several times
20    by raising his arms above his head and touching his chest. It also show[ed] him approach
21    Nguyen and once point at him. But it does not show Blankenhorn clench his fists.” Id.
22    Officer Nguyen then ordered Blankenhorn to kneel down so he could handcuff him.
23    Blankenhorn refused, saying “I’m not going to my f***ing knees” and immediately three
24    officers jumped on him. Id. After struggling for several seconds, the officers tackled
25    Blankenhorn, handcuffed him and secured his wrists and ankles with rip-hobble
26    restraints. Id. During the struggle, Nguyen punched Blankenhorn several times in an
27    attempt to distract him from resisting, while another officer placed a knee behind his neck
28

                                                   22
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1108 Page 23 of 37



 1    and pressed his face to the ground. Id. 469-70. There was no indication Blankenhorn
 2    suffered any serious injuries.
 3          The officers filed a summary-judgment motion seeking, among other things,
 4    qualified immunity on the excessive-force claim. Applying the Graham factors, the
 5    Ninth Circuit found the severity of the alleged crime—misdemeanor trespass—was
 6    minimal. Id. at 478. Additionally, although Blankenhorn was a known gang member
 7    who yanked his arm away from Nguyen, threw his identification on the ground, yelled,
 8    cursed, and raised his arms above his head and pointed at the officers, the court
 9    concluded a rational jury could find Blankenhorn did not pose a serious threat to
10    anyone’s safety. Id. This was supported by Blankenhorn’s previous cooperative
11    behavior with the officers, his demeanor when Nguyen found him at the mall, and his
12    behavior during the detention. Id. Regarding the third Graham factor, the court
13    acknowledged that Blankenhorn resisted and tried to stay on his feet when the officers
14    tried to take him to the ground. Id. at 480. However, the court stated that “a person has a
15    ‘limited right to offer reasonable resistance to an arrest that is the product of an officer’s
16    personal frolic. That right is not triggered by the absence of probable cause, but rather by
17    the officer’s bad faith or provocative conduct.” Id. at 479 (quoting United States v. Span,
18    970 F.2d 573, 580 (9th Cir. 1992)). Given the “lack of forewarning, the swiftness, and
19    the violence with which the defendant officers threw themselves upon Blankenhorn,” the
20    court found the officers’ “conduct could reasonably be considered ‘provocative,’
21    triggering Blankenhorn’s limited right to reasonable resistance . . . .” Id. at 479–80.
22    Additionally, because there was no evidence “Blankenhorn struck out at any of the
23    officers or mall patrons . . . [c]onsidering the rapidity of the officers’ actions and the
24    restrained nature of Blankenhorn’s own response, a jury could conclude Blankenhorn’s
25    resistance was reasonable under the circumstances.” Id. at 480. The Ninth Circuit,
26    therefore, concluded the officers were not entitled to qualified immunity for the excessive
27    force claim.
28

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1109 Page 24 of 37



 1          Defendants argue Blankenhorn does not satisfy the clearly-established prong
 2    because it “does not present similar circumstances.” (Defs’ Reply [Doc. 47] 6:25–28.)
 3    Specifically, Defendants contend Blankenhorn is distinguishable because it did not
 4    involve the same type of force as this case and instead involved gang tackling, punches
 5    and hobble restraints. (Defs’ Reply [Doc. 47] 6:25–28.)
 6          To satisfy the clearly-established prong, previous cases do not have to involve the
 7    identical conduct. “The focus is on whether the officer had fair notice that the officer’s
 8    conduct was unlawful.” Rodriguez v. County of Los Angeles, 891 F.3d 776, 795 (9th
 9    Cir. 2018) (citation and brackets omitted). Blankenhorn provided fair notice to the
10    officers that the amount of force used—under Lee’s version—was unreasonable.
11          First, contrary to Defendants’ contention, Blankenhorn is factually analogous to
12    this case. Both cases began with officers observing plaintiffs as they conversed with
13    third parties; neither case involved the use of a weapon; the use of force began with an
14    officer grabbing each plaintiff by the arm; each involved multiple officers tackling and
15    pinning plaintiffs to the ground; the crimes at issue were minor offenses; and both
16    Blankenhorn and Lee offered some resistance to being taken to the ground.
17          Second, the distinctions that do exist between the two cases further support a
18    finding that Blankenhorn satisfies the clearly-established prong. As described by the
19    Ninth Circuit, Blankenhorn’s conduct toward the officers was far more aggressive and
20    hostile than Lee’s conduct toward the officers and security guards. While Lee was calm
21    and compliant with the officers before the use of force, Blankenhorn—a known gang
22    member—was verbally abusive, threw his identification on the ground, made taunting
23    gestures toward Officer Nguyen by raising his arms and pointing at him, and “yanked”
24    his arm away from the officer when he attempted to stop him from walking away.
25    Additionally, while the force used on Blankenhorn did not cause any severe injuries,
26    here, Lee suffered a severe fracture to his humerus. Finally, while Blankenhorn was
27    being detained for trespassing, Lee was being detained for standing on the sidewalk in a
28    designated passenger loading zone. In sum, to the extent the officers’ use of force against
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1110 Page 25 of 37



 1    Blankenhorn was excessive, there can be no doubt the officers’ use of force against Lee
 2    was excessive.15
 3
 4           B.     Negligence and battery causes of action
 5           Defendants argue summary judgment is warranted against Lee’s negligence and
 6    battery causes of action. Their argument is based on the theory that the force used to
 7    detain/arrest Lee was reasonable. Because the Court has found disputed issues of fact
 8    preclude a finding that they did not use excessive force, Defendants’ argument regarding
 9    the negligence and battery causes of action fail.
10
11           C.     False arrest/false imprisonment cause of action
12           To prevail on his claim for false arrest/false imprisonment, Lee must establish the
13    following: “(1) the nonconsensual intentional confinement of a person; (2) without lawful
14    privilege; and (3) for an appreciable period of time, however brief.” Lyons v. Fire Ins.
15    Exchange, 161 Cal.App.4th 880, 888 (2008). California law provides an absolute
16    defense “where the officer, acting within the scope of his or her authority, either
17    (1) effects a lawful arrest or (2) has reasonable cause to believe the arrest is lawful.”
18    Cervantes v. United States, 330 F.3d 1186, 1188 (9th Cir. 2003). “Probable cause exists
19    when, under the totality of the circumstances known to the arresting officers (or within
20    the knowledge of the other officers at the scene), a prudent person would believe the
21    suspect had committed a crime.” Blankenhorn, 485 F.3d at 471 (citing Dubner v. City &
22    Cnty. of San Francisco, 266 F.3d 959, 966 (9th Cir. 2001)). Probable cause to arrest is
23
24
      15
25       Defendants also contend the law could not have been clearly established under Luchtel v. Hagermann,
      623 F.3d 975 (9th Cir. 2010). But unlike Lee, the plaintiff in Luchtel used crack cocaine, went
26    “ballistic” when officers arrived at the scene because she thought they were there to kill her, and
      admitted doing “everything she could to keep officers from handcuffing her.” Id. at 977. Under those
27    circumstances, the Ninth Circuit found all three Graham factors supported the use of force. Luchtel,
      therefore, bears no resemblance to this case.
28

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1111 Page 26 of 37



 1    based on an objective standard. United States v. Lopez, 482 F.3d 1067, 1072 (9th Cir.
 2    2007). Thus, “[p]robable cause exists when, at the time of arrest, the agents know
 3    reasonable trustworthy information sufficient to warrant a prudent person in believing
 4    that the accused had committed or was committing an offense.” Allen v. City of
 5    Portland, 73 F.3d 232, 237 (9th Cir. 1995); Aguilera v. Baca, 394 F. Supp. 2d 1203, 1214
 6    (C.D. Cal. 2005) (“Probable cause exists when the facts and circumstances within the
 7    officer’s knowledge are sufficient to warrant a prudent person to believe that the suspect
 8    has committed, is committing, or is about to commit an offense.”) (internal quotations
 9    and citation omitted).
10          Here, Defendants argue they had probable cause to arrest Lee for violating Cal.
11    Penal Code § 647(f) and Cal. Penal Code § 148(a)(1). Under section 647(f), it is a
12    misdemeanor if a person “by reason of his or her being under the influence of
13    intoxicating liquor, any drug, controlled substance, toluene, or any combination of any
14    intoxicating liquor, drug, or toluene, interferes with or obstructs or prevents the free use
15    of any street, sidewalk, or other public way.” With respect to this crime, Defendants
16    contend there is no dispute that while “asking [Lee] to move from the area, Officer
17    Larson . . . had observed that [Lee] had blood shot eyes and had an odor of alcohol.”
18    (Defs’ P&A [Doc. 42-1] 20:25–26.) Defendants further contend Lee “was clearly
19    intoxicated and admitted that he had ‘5 shots’ to drink between 9:00 p.m. and the time he
20    encountered the officers,” which was more than five hours later. (Id. 20:27–28.)
21          Disputed issues of material fact exist regarding whether at the time of the arrest
22    Officer Larson had probable cause to arrest Lee for violating section 647(f). Before
23    detaining/arresting Lee, the officers are heard on the video talking about citing Lee for
24    standing on the sidewalk. Aside from this discussion, there is no nothing suggesting the
25    officers were considering citing Lee for public intoxication. Additionally, at no point
26    before detaining Lee did any of the officers suggest that Lee’s eyes appeared blood shot
27    or that he had an odor of alcohol. Nor is it clear from the video that Lee’s eyes were
28    bloodshot. (Lawyer BC Video 0:00:00–0:01:23; Larson BC Video 0:00:00–0:01:19.)

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1112 Page 27 of 37



 1    Moreover, Defendants’ assertion that Lee had “5 shots” between 9:00 p.m. and
 2    approximately 2 a.m. when he encountered the officers is based on Lee’s interview after
 3    his arrest. For these reasons, the Court finds disputed issues of fact exist regarding
 4    whether Officer Larson had probable cause to arrest Lee for violating section 647(f).
 5          Under Cal. Penal Code § 148(a)(1), it is a crime for any person who “willfully
 6    resists, delays, or obstructs any public officer, peace officer, or an emergency medical
 7    technician . . . in the discharge or attempt to discharge any duty of his or her office or
 8    employment . . . .” Defendants contend the officers had probable cause to arrest Lee for
 9    violating this section because the “Officers asked [Lee] several times to continue walking
10    and to leave the area, while warning him that if he did not move, he would be placed in
11    handcuffs and taken to jail.” (Defs’ P&A [Doc. 42-1] 21:7–9.) Defendants further
12    contend that in response to their “command to put his hands behind his back, Plaintiff
13    tensed his arms and pulled them in front of his body.” (Id. 21:10–11.)
14          As discussed at length above, there is a dispute regarding whether Lee failed to
15    comply with the officers’ commands based on (1) Officer Larson’s admission during his
16    deposition that Lee “technically” complied when the officers told him to move and
17    (2) the video showing Lee move approximately 12 to 15 feet after being approached by
18    the officers. The video also reveals Lee never refused the officers’ orders to move.
19    Although he stopped to ask what he was doing wrong, it is reasonable to infer that Lee
20    would have continued moving once the officers explained why he had to leave the area.
21    See Matsushita, 475 U.S. at 587 (the court must view all inferences drawn from the
22    underlying facts in the light most favorable to the nonmoving party). Also undisputed is
23    that Lee was in a designated passenger loading zone waiting for a ride, and the ordinance
24    that the officers sought to enforce did not require Lee to leave the area, but instead to
25    stand “as near as practicable to the adjacent building or curb line.” For all these reasons,
26    the Court finds disputed issues of fact preclude a finding the officers had probable cause
27    to arrest Lee for violating section 148(a)(1).
28

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1113 Page 28 of 37



 1          D.     Bane Act cause of action
 2          Lee contends the officers violated California’s Bane Act, which was enacted to
 3    address hate crimes. Reese v. County of Sacramento, 888 F.3d 1030, 1039 (9th Cir.
 4    2018). The law provides for a claim against anyone who interferes with an individual’s
 5    rights secured by federal or state law, “where the interference is carried out ‘by threats,
 6    intimidation or coercion.’” Id. at 1040, citing Cal. Civ. Code § 52.1.
 7          Defendants raise two issues regarding Lee’s Bane Act claim. First, they contend
 8    there is “no evidence of any ‘threats, intimidation or coercion’ separate and independent
 9    from Plaintiff’s detention or arrest.” (Defs’ P&A [Doc. 42-1] 22:24–25.) Defendants
10    argument lacks merit because in the context of an excessive force claim, “§ 52.1 does not
11    require proof of coercion beyond that inherent in the underlying violation.” Rodriguez,
12                     see also Reese, 888 F.3d at 1043 (“the Bane Act does not require the
      891 F.3d at 802; ----------
13    ‘threat, intimidation or coercion’ element of the claim to be transactionally independent
14    from the constitutional violation alleged”).
15          Next, Defendants contend the videos from the body-worn cameras establish there
16    were no “threats, intimidation, and coercion.” (Defs’ P&A [Doc. 42-1] 22:25–27.) The
17    Court agrees with Defendants’ contention that based on the videos, the officers did not
18    violate the Bane Act.
19          In Reese, the Ninth Circuit explained that under Cornell v. City and County of San
20    Francisco, 17 Cal.App.5th 766 (2017), the “threat, intimidation, and coercion” language
21    gives rise to a requirement of “a specific intent to violate” the right at issue:
22          Cornell explained that “[p]roperly read, the statutory phrase ‘threat,
            intimidation or coercion’ serves as an aggravator justifying the conclusion
23
            that the underlying violation of rights is sufficiently egregious to warrant
24          enhanced statutory remedies, beyond tort relief.” Id. at 383. Accordingly,
            Cornell held that “the egregiousness required by Section 52.1 is tested by
25
            whether the circumstances indicate the arresting officer had a specific intent
26          to violate the arrestee's right to freedom from unreasonable seizure.” Id. at
            384. In so holding, Cornell adopted the specific intent standard established in
27
            Screws v. United States, 325 U.S. 91, 65 S.Ct. 1031, 89 L.Ed. 1495 (1945),
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1114 Page 29 of 37



 1          for assessing criminal violations of federal civil rights. 225 Cal.Rptr.3d at
            384–85.
 2
 3    Id. at 1043.
 4          Here, the videos establish that before approaching Lee, Officer Larson and Officer
 5    Lawyer agreed to “give it a minute” to see if the security guards could persuade Lee to
 6    leave. (Larson BC Video 0:00:32–0:00:34.) After approaching Lee, the officers stated
 7    that if he did not move and get off the sidewalk, Lee was going to go with us. (Lawyer
 8    BC Video 0:00:54–0:00:58.) When Lee stopped to ask what he was doing wrong, Officer
 9    Lawyer says “do me a favor, put your hands behind your back.” (Lawyer BC Video
10    0:01:23–0:01:25.) The video also shows that when the officers tackled Lee, they
11    attempted not to slam him to the ground, but instead to tackle him in a controlled manner.
12    (Cox BC Video 0:00:37–0:00:48; Choy Depo. [Doc. 42-10] 122:11–123:20.) Although
13    this Court believes that based on Lee’s version of events a reasonable jury could find the
14    force used was ultimately unreasonable under the circumstances, there is simply nothing
15    on the videos suggesting the officers had the specific intent to violate Lee’s Fourth
16    Amendment rights. For this reason, the Court finds Defendants’ are entitled to summary
17    judgment on Lee’s Bane Act cause of action.
18
19          E.       Punitive damages
20          In a single paragraph, Defendants argue summary adjudication of Lee’s punitive
21    damage claim is warranted because there is no evidence indicating the officers were
22    motivated by evil motive, an intent to harm Lee or a reckless or callous indifference to
23    his federally protected rights. (Defs’ P&A [Doc. 42-1] 23:11–20.) Lee’s similarly
24    abbreviated response asserts under his version of the facts a rational jury could find that
25    the officers acted at least with “reckless or callous indifference.” (Pl’s Opp’n [Doc. 44]
26    25:13–22.)
27          The Court finds the facts—even under Lee’s version—do not support a finding the
28    officers were motivated by evil motive or an intent to harm. However, with regard to the

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1115 Page 30 of 37



 1    “reckless or callous indifference” standard, Defendants—as the moving party—have not
 2    identified any cases providing guidance regarding its application. Accordingly, given the
 3    substantial number disputed facts regarding Lee’s arrest, the Court finds Defendants have
 4    not satisfied their burden of establishing summary adjudication is appropriate with
 5    respect to Lee’s punitive damage claim.
 6
 7    V.    PLAINTIFF’S PARTIAL SUMMARY JUDGMENT MOTION
 8          A.     Lee has standing to challenge SDMC § 82.0203
 9          Municipalities “can be sued directly under § 1983 for monetary, declaratory, or
10    injunctive relief where . . . the action is one that is alleged to be unconstitutional
11    implements or executes a policy statement, ordinance, regulation, or decision officially
12    adopted and promulgated by that body’s officers.” Monell v. Dept. of Social Services of
13    N.Y., 436 U.S. 658, 690 (1978). “[A] plaintiff must show ‘a direct causal link between a
14    municipal policy or custom and the alleged constitutional deprivation.’” Mendiola-
15    Martinez v. Arpaio, 836 F.3d 1239, 1247 (9th Cir. 2016) (quoting Castro v. City of Los
16    Angeles, 833 F.3d 1060, 1075 (9th Cir. 2016)). “Where a plaintiff claims that the
17    municipality has not directly inflicted an injury, but nonetheless has caused an employee
18    to do so, rigorous standards of culpability and causation must be applied to ensure that
19    the municipality is not held liable solely for the actions of its employee.” Bd. of the
20    Cnty. Comm’rs v. Brown, 520 U.S. 397, 405 (1997). However, “[w]here a plaintiff
21    claims that a particular municipal action itself violates federal law, or directs an employee
22    to do so, resolving these issues of fault and causation is straightforward.” Id. at 404
23    (emphasis in original). Where fault and causation are obvious, “proof that the
24    municipality’s decision was unconstitutional would suffice to establish that the
25    municipality itself was liable for the plaintiff’s constitutional injury.” Id. at 406.
26          Here, Lee contends Officer Lawyer decided to detain him for violating SDMC §
27    82.0203. Lee’s contention is supported by the evidence, including Officer Lawyer’s
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1116 Page 31 of 37



 1    deposition testimony. In response, Defendants contend Lee lacks standing because they
 2    also had grounds to detain Lee for violating Cal. Penal Code §§ 148(a)(1) and 647(f).
 3          As discussed above, Officer Lawyer acknowledged that when he grabbed Lee’s
 4    arm, he did so to detain him for violating section 82.0203. Before Officer Lawyer moved
 5    to detain Lee for violating that section, there is nothing on the videos remotely suggesting
 6    any officer considered detaining Lee for violating sections 647(f) or 148(a)(1).
 7    Moreover, Lee’s subsequent arrest for violating those two sections was based on events
 8    or facts—i.e, Lee’s alleged resistance and admission to consuming alcohol—obtained
 9    after Officer Lawyer moved to detain Lee for violating section 82.0203. There is also no
10    dispute that Lee was injured during the detention that Officer Lawyer initiated pursuant
11    to section 82.0203. In sum, Lee “claims that a particular municipal action [i.e., the
12    ordinance] violates federal law” and enforcement of that ordinance caused his injury.
13    Because Lee’s claim is supported by the undisputed facts, under Brown, 520 U.S. 405,
14    Lee has standing to pursue his Monell claim.
15
16          B.     SDMC § 82.0203 is unconstitutionally vague.
17          A criminal law “may be impermissibly vague because it fails to establish standards
18    for the police and public that are sufficient to guard against the arbitrary deprivation of a
19    liberty interest.” City of Chicago v. Morales, 527 U.S. 57, 52 (1999) (citing Kolender v.
20    Lawson, 461 U.S. 352, 357 (1983)). Under the void for vagueness doctrine, a penal
21    statute must “define the criminal offense with sufficient definiteness that ordinary people
22    can understand what conduct is prohibited and in a manner that does not encourage
23    arbitrary and discriminatory enforcement.” Kolender, 461 U.S. at 357. “Although the
24    doctrine focuses both on actual notice to citizens and arbitrary enforcement, we have
25    recognized recently that the more important aspect of the vagueness doctrine ‘is not
26    actual notice, but the other principal element of the doctrine—the requirement that a
27    legislature establish minimal guidelines to govern law enforcement.” Id. at 357–58.
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1117 Page 32 of 37



 1          Here, SDMC § 82.0203 provides, “[i]n the Central Traffic District, or any business
 2    district, it shall be unlawful for any pedestrian to stand on the sidewalk, except as near as
 3    practicable to the building line or curb line.” (Defs’ Ex. 24 [Doc. 42-14] MSJ Ex. 24-
 4    0210.) Lee contends the ordinance is unconstitutionally vague because it fails to provide
 5    the public with adequate notice of the conduct it criminalizes, and it fails to provide
 6    guidance to law enforcement, thereby allowing for arbitrary enforcement. (Pls’ P&A
 7    [Doc. 43-1] 6:22–23, 9:24–25.) In support of this argument, Lee contends the “ordinance
 8    provides no guidelines for police officers to determine when a person is standing ‘as near
 9    as practicable’ to a building line or curb line and thus acting lawfully, or when he may be
10    too far from the building or curb line, and thus subject to detention or arrest. It is simply
11    up to each individual officer’s subjective interpretation.” (Id. 10:13–17.) Defendants
12    dispute any ambiguity and point to the definition of “practicable” in Merriam-Webster’s
13    online dictionary—“capable of being put into practice or of being done or accomplished;
14    feasible.” (Defs’ Opp’n [Doc. 45] 9:9–21.)
15          In Shuttlesworth v. City of Birmingham, 382 U.S. 87 (1965), the Supreme Court
16    evaluated a loitering ordinance prohibiting “any person or any number of persons to
17    stand, loiter or walk upon any street or sidewalk . . . as to obstruct free passage over, on
18    or along said street or sidewalk.” Id. at 88. The ordinance also made it a separate crime
19    for “any person to stand or loiter upon any street or sidewalk of the city after having been
20    requested by any police officer to move on.” Id. The Court found the second part of the
21    ordinance unconstitutional:
22          Literally read, therefore, the second part of this ordinance says that a person
            may stand on a public sidewalk in Birmingham only at the whim of any
23
            police officer of that city. The constitutional vice of so broad a provision
24          needs no demonstration. It does not provide for government by clearly
            defined laws, but rather for government by the moment-to-moment opinions
25
            of a policeman. Instinct with its ever-present potential for arbitrarily
26          suppressing First Amendment liberties, that kind of law bears the hallmark
            of a police state.
27
28    Id. at 90–91 (footnotes and internal citations omitted).

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1118 Page 33 of 37



 1          In City of Chicago v. Morales, 527 U.S. 57 (1999), the Supreme Court evaluated
 2    another loitering ordinance, which prohibited “criminal street gang members” from
 3    “loitering” with one another or with other persons in a public place. Id. at 45. The
 4    ordinance defined “loitering” as “remain[ing] in any one place with no apparent
 5    purpose.” Id. at 53. However, one could only be arrested after disobeying a police
 6    officer’s order to disperse. Id. at 47. Additionally, after the ordinance was adopted, the
 7    Chicago Police Department promulgated specific guidelines “to ensure that the . . .
 8    ordinance is not enforced in an arbitrary or discriminatory way.” Id. at 48.
 9          In evaluating the ordinance, the Court began by recognizing that “the freedom to
10    loiter for innocent purposes is part of the ‘liberty’ protected by the Due Process Clause of
11    the Fourteenth Amendment.” Id. at 53. The Court then took issue with the “no apparent
12    purpose” language in the definition of “loiter”:
13          It is difficult to imagine how any citizen of the city of Chicago standing in a
            public place with a group of people would know if he or she had an
14
            “apparent purpose.” If she were talking to another person, would she have
15          an apparent purpose? If she were frequently checking her watch and looking
            expectantly down the street, would she have an apparent purpose? Since the
16
            city cannot conceivably have meant to criminalize each instance a citizen
17          stands in public with a gang member, the vagueness that dooms this
            ordinance is not the product of uncertainty about the normal meaning of
18
            “loitering,” but rather about what loitering is covered by the ordinance and
19          what is not. The Illinois Supreme Court emphasized the law's failure to
            distinguish between innocent conduct and conduct threatening harm. Its
20
            decision followed the precedent set by a number of state courts that have
21          upheld ordinances that criminalize loitering combined with some other overt
            act or evidence of criminal intent. However, state courts have uniformly
22
            invalidated laws that do not join the term “loitering” with a second specific
23          element of the crime.
24
      Id. at 56–58 (footnotes with citations omitted). In responding to the City’s contention
25
      that the ordinance provided adequate notice because loiterers could only be arrested after
26
      failing “to comply with an officer’s order to disperse,” the Court stated that “[i]f the
27
28

                                                   33
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1119 Page 34 of 37



 1    loitering is in fact harmless and innocent, the dispersal order itself is an unjustified
 2    impairment of liberty.” Id. at 58.
 3           Next, the Court found the ordinance also failed to establish minimal guidelines to
 4    govern law enforcement. Id. at 60. Despite the City’s attempt to provide guidance to its
 5    officers, “[t]he ‘no apparent purpose’ standard . . . is inherently subjective because its
 6    application depends on whether some purpose is ‘apparent’ to the officer on the scene.
 7    Presumably an officer would have discretion to treat some purposes—perhaps a purpose
 8    to engage in idle conversation or simply to enjoy a cool breeze on a warm evening—as
 9    too frivolous to be apparent if he suspected a different ulterior motive.” Id. at 62.
10           Similar to the “no apparent purpose” language in Morales, the “as near as
11    practicable” language in SDMC § 82.0203 fails to notify pedestrians about what conduct
12    is prohibited because it is unclear how “near” to a building line or curb line a pedestrian
13    must stand. Does one need to be standing on the edge of the curb line or touching a
14    building to comply with the ordinance? What about safety issues, particularly when
15    standing on a curb line during traffic? Is there a time limit on how long someone may
16    stand in the middle of a sidewalk before being cited? Did the City really intend to
17    criminalize stopping in the middle of a sidewalk to tie a shoe, answer a phone or ask for
18    directions? As stated in Morales, “the vagueness that dooms this ordinance is not the
19    product of uncertainty about the normal meaning of ‘loitering,’ but rather about what
20    loitering is covered by the ordinance and what is not.” Id. at 57. Additionally, because
21    the ordinance fails to combine loitering with some other overt act or evidence of criminal
22    intent, it falls within the group of ordinances invalidated by state courts. Id. at 58.16
23
24
25
      16
         See State v. Richard, 108 Nev. 626, 627, n. 2 (1992) (striking down statute that made it unlawful “for
      any person to loiter or prowl upon the property of another without lawful business with the owner or
26    occupant thereof”); City of Wapakoneta v. Jeanneret, 1978 WL 215780, *1 (Ohio App. Ct. Feb. 28,
      1978) (finding loitering ordinance unconstitutionally vague which made it a misdemeanor “for any one
27    person alone or in concert with others to assemble or congregate on the public portions of a parking lot
      for the purpose of lingering or loitering in any manner”); State of New Jersey v. Caez, 81 N.J.Super.
28    315, 318–319 (1963) (finding unconstitutional a loitering ordinance providing, in relevant part, “[n]o
                                                         34
     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1120 Page 35 of 37



 1           SDMC § 82.0203 also fails to provide sufficient guidance to law enforcement.
 2    Whether it is “practicable” or “feasible” to stand “near[er]” to a “building line or curb
 3    line” depends on each individual officer’s subjective judgment. Additionally, unlike
 4    Morales, where officers were provided guidance for enforcing the ordinance, here, there
 5    is no suggestion the City has provided any guidance to officers. Thus, similar to the
 6    ordinance in Shuttlesworth, SDMC § 82.0203 essentially allows pedestrians to stand on a
 7    sidewalk at the whim of any officer and criminalizes standing in the middle of a sidewalk
 8    without any unlawful conduct.
 9           In their opposition, Defendants contend the ordinance was intended to prevent
10    “people from impeding the pedestrian flow of traffic” and cite Coates v. City of
11    Cincinnati, 402 U.S. 611 (1971), for the proposition that a City may prevent people from
12    blocking sidewalks. (Defs’ Opp’n [Doc. 45] 8:27–9:2.) This argument only confirms the
13    ordinance’s vagueness.
14           In Coates, the ordinance prohibited “three or more persons to assemble * * * on
15    any of the sidewalks * * * and there conduct themselves in a manner annoying to persons
16    passing by * * *.” Id. at 611–12. In acknowledging that a city is free to enact ordinances
17
18
19    person shall loiter, lounge or sleep in or upon any street, part or public place” because it is a
      “fundamental proposition that no ordinance may unreasonably or unnecessarily interfere with a person’s
20    freedom, whether it be to move about or to stand still.”); Commonwealth v. Carpenter, 325 Mass. 519,
21    91 N.E.2d 666, 667 (1950) (loitering ordinance criminalizing the failure “to move on as soon as seven
      minutes have elapsed after” an officer’s dispersal order was unconstitutionally vague because it failed to
22    “prescribe any standard capable of intelligent human evaluation to enable one chargeable with its
      violation to discover those conditions which convert conduct which is prima facie lawful into that which
23    is criminal”); --
                     but -
                         see   Tacoma v. Luvene, 118 Wash.2d 826 (1992) (upholding ordinance criminalizing
                            - ------------
      loitering with purpose to engage in drug-related activities); People v. Superior Court, 46 Cal.3d 381,
24    394–395 (1988) (upholding ordinance criminalizing loitering for the purpose of engaging in or soliciting
25    lewd act); People v. Wedlow, 169 N.W.2d 145, 146–147 (Mich. App., 1969) (rejecting constitutional
      challenge to an ordinance prohibiting “loitering,” which was defined as “standing or idling in or about
26    any . . . sidewalk . . .so as to hinder or impede or tend to hinder or impede the passage of pedestrians”
      because “loitering” was sufficiently well defined “so as to limit application to those persons who are
27    obstructing free passage of pedestrians. The ordinance does not prohibit standing on a sidewalk, but
      only standing so as to hinder or impeded pedestrian traffic.”).
28

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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1121 Page 36 of 37



 1    preventing “people from blocking sidewalks, obstructing traffic, littering streets,
 2    committing assaults, or engaging in countless other forms of antisocial conduct,” the
 3    Court also explained that the ordinances must be “directed with reasonable specificity
 4    toward the conduct to be prohibited.” Id. at 614 (citation omitted).
 5          Coates does not assist Defendants because section 82.0203 does not criminalize
 6    impeding the pedestrian flow of traffic; it criminalizes standing on a sidewalk. As
 7    Defendants acknowledge in their opposition, the City amended the ordinance in 1928 and
 8    eliminated the language requiring an obstruction. (Defs’ Opp’n [Doc. 45] 8:26–9:2.) The
 9    previous version provided that it was unlawful for any “person to stop, stand or loiter on
10    the sidewalk so as to impede pedestrian traffic, or to do or perform any act the result of
11    which shall create a congestion of pedestrian traffic on the sidewalk.” (Defs’ Ex. 25
12    [Doc. 42-15] MSJ Ex. 25-0217.) The current version no longer includes the “impede
13    pedestrian traffic” or “create a congestion” language and instead makes it unlawful to
14    simply “stand on a sidewalk, except as near as practicable to the building or curb line.”
15    And Defendants have cited no state court decisions limiting the ordinance’s scope to
16    impeding the flow of traffic. Thus, to the extent the ordinance was intended to prevent
17    people from blocking sidewalks, under Coates the ordinance is not directed with
18    reasonable specificity toward the prohibited conduct.
19          Finally, the ordinance’s failure to provide guidance to law enforcement and the
20    arbitrariness with which it may be enforced is demonstrated by Lee’s arrest. Video
21    appears to show other men and women standing near the middle of the sidewalk before
22    Lee was detained. (Lawyer BC Video 0:00:20–0:01:10.) There is no indication they were
23    cited for violating section 82.0203 or ordered to leave the area. Additionally, when
24    Officer Lawyer grabbed Lee, he appeared to be standing within 3 feet of the curb line,
25    with Officer Larson standing between him and the curb. (Id. 0:01:20–0:01:24.) Lee,
26    therefore, was arguably “as close as practicable” to the curb line when Officer Lawyer
27    decided to detain him. Under these circumstances, Lee’s arrest demonstrates that the
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     Case 3:18-cv-00159-W-BLM Document 51 Filed 10/02/20 PageID.1122 Page 37 of 37



 1    City’s failure to provide guidance to its officers leads to arbitrary enforcement of the
 2    ordinance.
 3          For these reasons, the Court finds SDMC § 82.0203 unconstitutionally vague.
 4
 5          C.     Lee is entitled to a declaratory judgment that SDMC § 82.0203 is
 6                 unconstitutionally vague.
 7          Lee also moves for summary judgment on his declaratory judgment cause of
 8    action, which asserts SDMC § 82.0203 is unconstitutionally vague. The same issues
 9    raised regarding the Monell claim are raised here. Accordingly, the Court finds Lee is
10    entitled to a declaration that SDMC § 82.0203 is unconstitutionally vague.
11
12    VI.   CONCLUSION & ORDER
13           For the foregoing reasons, the Court GRANTS IN PART and DENIES IN
14    PART Defendants’ summary-judgment motion [Doc. 42] and GRANTS Plaintiff’s
15    motion for partial summary judgment [Doc. 43].
16          IT IS SO ORDERED.
17    Dated: October 2, 2020
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